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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS



  DR. SHIVA AYYADURAI,

                                Plaintiff,

                           v.                             CIVIL ACTION
                                                          NO. 1:20-cv-11889-MLW
  WILLIAM FRANCIS GALVIN, in his official
  capacity as the Secretary of the Commonwealth
  of Massachusetts and his individual capacity,
  MICHELLE TASSINARI, in her individual
  capacity, DEBRA O’MALLEY, in her individual
  capacity, AMY COHEN, in her individual capacity,
  and NATIONAL ASSOCIATION OF STATE
  ELECTION DIRECTORS

                        Defendant.



AFFIDAVIT OF ADAM HORNSTINE IN RESPONSE TO ORDER DURING AUGUST 4,
 2021 HEARING CONCERNING HOURS WORKED IN RESPONSE TO PLAINTIFF’S
           VIOLATION OF THE JUNE 16, 2021 SCHEDULING ORDER

       I, Adam Hornstine, Assistant Attorney General, hereby state under oath as follows

pursuant to the Court’s order made during the August 4, 2021 hearing:

       1.     In responding to Plaintiff’s violation of the Court’s June 16, 2021 order, Assistant

Attorneys General Anne Sterman and Adam Hornstine estimate that they have worked the

following amount of time on the above-captioned case through August 4, 2021:

              a.      Write and file opposition to motion to continue, including conference with

opposing counsel: AAG Hornstine (2 hours) and AAG Sterman (1 hour)

              b.      Research, write, and file brief concerning sanctions: AAG Hornstine (8

hours) and AAG Sterman (2 hours).

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                 c.     Research, write, and file motion to strike: AAG Hornstine (3 hours) and

AAG Sterman (1 hour)

                 d.     Review and analyze Plaintiff’s filings in response to July 16, 2021 order:

AAG Hornstine (2 hours) and AAG Sterman (2 hours)

                 e.     Prepare for and attend August 4, 2021 hearing: AAG Hornstine (6 hours),

AAG Sterman (6 hours)

        2.       Attorneys for the Massachusetts Attorney General’s Office are salaried

employees, and thus they do not normally account for their time on an hourly basis. This

estimate is, therefore, based on counsel’s best recollection and review of their case documents.

        3.       As for potential reasonable hourly rates for the Court’s consideration, the

Attorney General’s Office uses the following presumptive rates for its attorneys when seeking

fees:

                 a.     For an attorney with 11-15 years of experience (AAG Hornstine): $275-

$325 per hour.

                 b.     For an attorney with 16-20 years of experience (AAG Sterman): $325-

$350 per hour.

        4.       AAG Hornstine is a 2006 law school graduate with 15 years of experience. He is

also the Managing Attorney of the Constitutional and Administrative Law Division of the

Attorney General’s Office. AAG Sterman is a 2001 law school graduate with 20 years of

experience. She is also the Deputy Chief of the Government Bureau of the Attorney General’s

Office. AAG Hornstine’s current annual salary is $93,000 per year. AAG Sterman’s current

annual salary is $126,000 per year.

                                               /s/ Adam Hornstine
                                               Adam Hornstine
Date: August 5, 2021
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                               LOCAL RULE 7.1 CERTIFICATION

       I, Adam Hornstine, Assistant Attorney General, hereby certify that on August 4-5, 2021,
met and conferred with counsel for Plaintiff in an attempt to narrow or resolve the issue of fees,
as ordered by the Court, but was unable to do so.

                                              /s/ Adam Hornstine
                                              Adam Hornstine


                                   CERTIFICATE OF SERVICE

      I, Adam Hornstine, Assistant Attorney General, hereby certify that I have this day,
August 5, 2021, served the foregoing Affidavit, upon all parties, by electronically filing to all
ECF registered parties.

                                              /s/ Adam Hornstine
                                              Adam Hornstine
